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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

        Plaintiff,
                                                             Case No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

        Defendant


                                   APPENDIX IN SUPPORT OF
                                   MOTION FOR SANCTIONS


        Pursuant to Local Rules 7.1(i) and 7.2(e), Defendant, ORR Safety Corporation (“ORR

Safety”), hereby submits this Appendix in Support of its Sanctions. Each page of this Appendix

is numbered sequentially in the lower, right-hand corner. ORR Safety relies on the following

evidence in support of its Motion for Sanctions filed contemporaneously herewith, and this

evidence is incorporated into that Motion and Brief as if set forth therein in full:

        Attached are the following documents:

                      TITLE OF DOCUMENT                   APPENDIX PAGE(S)

                 Screenshot of documents                            1
                 available to download
                 Email from Mr. Charest to Mr.                    2-3
                 Cordes, Mr. Aisenberg, and
                 Ironclad – LegalTeam
                 Usage Report                                       4

                 June 3, 2016 Email from Mr.                        5
                 Sherman to Mr. Cordes, Mr.
                 Aisenberg, and Ironclad
                 LegalTeam
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          June 3, 2016 Email from Mr.             6-7
          Aisenberg to Mr. Serman and
          Mr. Cordes
          June 3, 2016 Email from Mr.              8
          Bynum to Mr. Sherman
          June 5, 2016 Email from Mr.             9-11
          Aisenberg to Mr. Sherman
          June 5, 2016 and June 6, 2016         12-14
          Emails between Mr. Sherman
          and Mr. Cordes
          June 7, 2016 Email from Mr.           15-16
          Sherman to Mr. Cordes and
          Mr. Aisenberg
          Emails between Mr. Cordes             17-19
          and Mr. Sherman
          Emails between Mr. Sherman            20-21
          and Mr. Aisenberg
          June 8, 2016 Email from Mr.             22
          Sherman to Ms. Stinnett
          June 8, 2016 Letter from Ms.          23-25
          Stinnett to Ironclad counsel
          June 3, 2016 Email from Mr.             26
          Sherman to Mr. Cordes and
          Mr. Aisenebrg
          June 3, 2016 Letter from Mr.          27-31
          Sherman to Ms. Stinnett and
          Mr. Shapiro
          June 5, 2016 Email from Mr.           32-33
          Sherman to Ms. Stinnett
          June 7, 2016 Email from Mr.             34
          Cordes to Mr. Sherman
          June 3, 2016 voicemail                35-36
          delivery receipt and transcript
          of voicemail
          June 9, 2016 Email from Ms.           37-39
          Stinnett to Mr. Sherman
          Emails between counsel                40-43
          regarding AEO issues
          June 8, 2016 Email from Mr.             44
          Sherman to Ms. Stinnett
          April 22, 2016 Email from               45
          Mr. Thompson to Mr. Fultz,
          Ms. Stinnett and Mr. Shapiro
          Emails between Mr. Cordes             46-48
          and Mr. Clayton


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          FILED UNDER SEAL                    49-63

          FILED UNDER SEAL                    64-85

          Plaintiff’s First Set of            86-89
          Expedited Discovery to
          Defendant ORR Safety
          Corporation
          Plaintiff’s Second Set of           90-98
          Expedited Discovery to
          Defendant ORR Safety
          Corporation
          FILED UNDER SEAL                    99-105

          Declaration of Mr. Michael         106-109
          Sherman
          Declaration of Mr. Daniel          110-113
          Charest
          Declaration of Mr. William         114-117
          Aisenberg
          Exhibit A to Declarations of       118-119
          Messrs. Sherman, Charest,
          Aisenberg, and Cordes
          FILED UNDER SEAL                   120-134

          Exhibit C to Declarations of       135-137
          Messrs. Sherman, Charest,
          Aisenberg, and Cordes
          Exhibit D to Declarations of       138-139
          Messrs. Sherman, Charest,
          Aisenberg, and Cordes
          Exhibit E to Declarations of       140-141
          Messrs. Sherman, Charest,
          Aisenberg, and Cordes
          Exhibit F to Declarations of       142-144
          Messrs. Sherman, Charest,
          Aisenberg, and Cordes
          May 16, 2016 Emails between        145-146
          Ms. Stinnett and Mr. Charest
          Declaration of Mr. Jeffrey         147 – 150
          Cordes
          June 30, 2016 Email from Ms.       151-152
          Stinnett to counsel
          July 6, 2016 Email from Ms.        153 – 156
          Stinnett to counsel


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          July 11, 2016 Email from Ms.              157-158
          Stinnett to counsel
          July 12, 2016 Email from Ms.              159-162
          Stinnett to counsel



                             Respectfully submitted,

                              s/ Benjamin C. Fultz
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                             Counsel for Defendant and Counterclaim Plaintiff ORR Safety
                             Corporation




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                                CERTIFICATE OF SERVICE

        On July 13, 2016 I electronically submitted the foregoing document with the clerk of court for
the U.S. District Court, Northern District of Texas, using the electronic case filing system of the
court. I hereby certify that I have served all counsel of record electronically or by another manner
authorized by Federal Rule of Civil Procedure 5(b)(2).

                                            s/ Benjamin C. Fultz
                                            Counsel for Defendant and Counterclaim Plaintiff ORR
                                            Safety Corporation




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